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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


UNITED STATES OF AMERICA

V.
                                              CIVIL ACTION FILE
KELVIN DURHAl\!I, MARCUS
DAVIS, JABARI ALBERT, AND                     NUMBER 1: l 4-cr-00395-TCB-
KEITH HAWKINS,                                ECS

       Defendants.


                                    ORDER
       This case comes before the Court on Magistrate Judge E. Clayton

Scofield's Report and Recommendation (the "R&R") [108], which

recommends that Defendants' motions to dismiss and requests for a

hearing [85, 88, 89, 92] be denied. Defendants Kelvin Durham, Marcus

Davis, and Jabari Albert have filed objections to the R&R [111, 112,

113] . 1

       A district judge h::ts a duty to conduct a "careful and complete"

review of a magistrate judge's R&R. Williams v. Wainwright, 681 F.2d

       1 Defendant Hav, kins has filed no objections to the R&R.
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732, 732 (11th Cir. 1982) (quoting Nettles v. Wainwright, 677 F.2d 404,

408 (5th Cir. 1982)). 2 This review may take different forms, however,

depending on whether there are objections to the R&R. The district

judge must "make a de novo determination of those portions of the

[R&R] to which objection is made." 28 U.S.C. § 636(b)(l)(C). In contrast,

those portions of the R&R to which no objection is made need only be

reviewed for clear error. 1Vlacort v. Prem, Inc., 208 F. App'x 781, 784

(11th Cir. 2006). 3

      "Parties filing objections must specifically identify those findings

objected to. Frivolous, conclusive or general objections need not be


      2 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit

decisions issued before October 1, 1981, as well as all decisions issued after that
date by the Unit B panel of the former Fifth Circuit. Stein v. Reynolds Sec., Inc., 667
F.2d 33, 34 (11th Cir. 1982); see also United States v. Schultz, 565 F.3d 1353, 1361
n.4 (11th Cir. 2009) (discussing the continuing validity of Nettles).
      3 Macort dealt only with the standard of review to be applied to a magistrate's

factual findings, but the Supreme Court has held that there is no reason for the
district court to apply a different standard to a magistrate's legal conclusions.
Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this circuit have
routinely applied a clear-error standard to both. See Tauber v. Barnhart, 438 F.
Supp. 2d 1366, 1373-7 4 (N.D. Ga. 2006) (collecting cases). This is to be contrasted
with the standard of review on appeal, which distinguishes between the two. See
Monroe v. Thigpen, 932 F.2d 1437, 1440 (11th Cir. 1991) (when a magistrate's
findings of fact are adopted by the district court without objection, they are
reviewed on appeal under a plain-error standard, but questions of law remain
subject to de novo review).

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considered by the district court." Nettles, 677 F.2d at 410 n.8. "This rule

facilitates the opportunity for district judges to spend more time on

matters actually contested and produces a result cornpatible with the

purposes of the Magistrates Act." Id. at 410.

     The district judge also has discretion to decline to consider

arguments that were not raised before the magistrate judge. Williams v.

McNeil, 557 F.3d 1287, 1292 (11th Cir. 2009). Indeed, a contrary rule

"would effectively nullify the magistrate judge's consideration of the

matter and would not help to relieve the workload of the district court."

Id. (quoting United States v. Howell, 231 F.3d 615, 622 (9th Cir. 2000)).

     After conducting a complete and careful review of the R&R, the

district judge may accept, reject or modify the magistrate judge's

findings and recommendations. 28 U.S.C. § 636(b)(l)(C); Williams, 681

F.2d at 732. The district judge may also receive further evidence or

recommit the matter to the magistrate judge with instructions. 28

U.S.C. § 636(b)(l)(C).

     Defendants' motions to dismiss assert that the conduct of law

enforcement in this action was so outrageous that it violated due

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     process guarantees and dismissal of the indictment is warranted. 4

     Specifically, Defendants allege that the Government's confidential

     informant ("CI") initiated contact with Durham, that an undercover

:I   agent exerted pressure on Durham to follow through with a planned
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I    robbery, and that the conspiracy was, in effect, manufactured by the

     Government. Judge Scofield concluded that Defendants have failed to

     show that the Government's conduct was so outrageous, rare, shocking

     and unconscionable as to demand dismissal, and he recommends denial

     of their motions. The Court has conducted a careful, de novo review of

     the R&R and Defendants' objections thereto. Having done so, the Court

     finds that Judge Scofield's factual and legal conclusions were correct

     and that Defendants' objections have no merit.




           4 Courts recognize that government involvement in a crime may in theory

     become so outrageous and excessive that it violates due process and requires
     dismissal of charges against a defendant. United States v. Russell, 411 U.S. 423
     (1973). To establish such a due process violation, the government's conduct must be
     so outrageous as to offend common notions of fairness and shock the universal sense
     of Justice. The burden is heavy-the Eleventh Circuit has never found the defense
     availing and has never reversed a case on such grounds.

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I.   Factual Contentions and Objections

     The objections filed by Defendants Durham, Davis, and Albert

mirror each other in all material respects. For that reason, unless

specifically noted below, the Court's analysis applies equally to each of

their respective objections.

     Defendants effectively raise two objections to the R&R. First, they

challenge the magistrate judge's conclusion that the Government's

conduct did not deprive Defendants of due process. And second, they

argue that a hearing is necessary to resolve factual disputes regarding

the underlying criminal complaint. These objections simply resurrect

the arguments already advanced in support of Defendants' motions to

dismiss and will be addressed in turn. But first, a brief recitation of the

underlying story, as told by the undercover agent and by Defendant

Durham.

     ATF 5 Special Agent A. McLeod's affidavit, which forms the basis of

the criminal complaint, states that Durham contacted the Government's

CI in June 2014, saying he was actively looking for "a good lick" (a

     5 Bureau of Alcohol, Tobacco, Firearms and Explosives.



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     robbery) to hit and needed some "big dope." Later that month, the CI

     contacted Durham and suggested that he knew of a drug stash house

     with approximately ten kilograms of cocaine that could be robbed.

     Durham expressed interest and set up a meeting with the Cl's contact

     (undercover agent Task Force Officer A. Edmondson), but Durham

     failed to show for the meeting and nothing came of the Cl's offer-until

     nearly three months later. In September 2014, Durham reached out to

     the CI and asked to meet about the drug stash house. Durhan1 told the

     CI that the reason he had not been in touch since the summer was that

     he and his crew had been "on a lick" in Alabama. Back in Georgia and

     ready to carry out another robbery, Durham asked to be put in touch
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     with the Cl's contact about the stash house. At that point, the CI put

     Durham back in touch with the Government's undercover agent. At an

     in-person meeting the next day, the undercover agent explained to

     Durham that he knew of a stash house where there would be at least

     ten kilograms of cocaine. And he told Durham that there were typically

     three to four armed Mexican individuals at the house. Durham asked

     about the location of the stash house, but the undercover agent


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       explained that he would not know until the day of, that his contact

       would text him the location just before he was to make a pick-up. The

       undercover agent explained that Durham would be responsible for

       scripting how the robbery would take place, but he did want to meet

       Durham's associates before the robbery, to make sure they were all

       familiar with him so that he would not get hurt. Durham agreed.

            A few days later, on September 29, Durham and the CI spoke

       again. Durham stated that he and his "people" were ready to conduct

       the robbery. A few texts were later exchanged between Durham and the

       undercover agent, and they planned a second meeting. On October 1,

       Durham, this time with Albert, met with the undercover agent and the

       CI to discuss the details of the planned robbery. The undercover agent

       again explained that there were typically four Mexicans at the stash

       house, one of which carried a "chopper" and the others had handguns.

       They discussed the way in which they would enter the house, planning

       to surprise the Mexicans by entering the house through the front door

       after the undercover agent entered. Durham indicated that he had a

       "four man team." Again, the undercover agent made clear that he

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wanted to meet the whole team in advance of the robbery, so that

Durham and his associates would be familiar with him and could avoid

hitting him during the home invasion.

     Two weeks later, on October 14, Durham contacted the undercover

agent to ask when the robbery would take place. The undercover agent

set a meeting with Durham and his team for October 16. But on

October 16, Durham texted that he had a "family emergency" and could

not meet. The undercover agent explained that the following day was to

be the day of the robbery and he wanted to meet with Durham and the

entire team before that in order to get acquainted. Durham explained

that he and his team had gotten "vests" and were ready to go. They met

the following day. Durham arrived with three other individuals; ·Albert,

Davis, and Hawkins. All four Defendants got into the undercover

agent's car and began discussing the plan for carrying out the robbery.

The undercover agent then explained that he needed to pick up a

special Corvette with a hidden "trap" (a concealment compartment to

hide drugs). Defendants asked when they were going to hit the stash

house, and the undercover agent responded, "Now." The four

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Defendants traveled with the undercover agent to pick up the Corvette,

and indicated that they were ready to go to the stash house to carry out

the plan. Upon arriving at the storage facility where the Corvette was

kept, the undercover agent got into the Corvette and when he opened

the trunk to show the four Defendants the hidden compartment,

Durham, Hawkins and Davis pulled their guns on him and Durham

said, "Don't rnove." The ATF special response team emerged from hiding

in the storage unit and arrested the Defendants.

      Defendants raise a few specific disputes to this factual recitation.

They contend that it was the CI who first approached Durham in June

2014 about illegal activity, and that it was the CI who re-initiated

contact with Durham in September 2014. Likewise, Defendants argue

that it was the Government, through the CI and the undercover agent,

who introduced the idea of a robbery, exerted pressure on Durham to

follow through, and persuaded him that he would need to recruit a team

with weapons to carry out the robbery. But these factual disputes, even

if true on every score, describe activity that falls far short of the




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outrageous and shocking conduct necessary to establish a due process

violation.

II.    Outrageous Government Conduct Standard

       Due nrocess bars a conviction where "the conduct of law
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enforcement agents is so outrageous that due process principles would

absolutely bar the government from invoking judicial processes to

obtain a conviction." Russell, 411 U.S. at 431-32. Conduct may be

deemed outrageous if "the government instigates the criminal activity,

provides the entire means for its execution, and runs the entire

operation with only meager assistance from the defendant." United

States v. Puett, 735 F.2d 1331, 1335 (11th Cir. 1984).

       Defendants do not contend that the Government detailed the

planned robbery, that it provided Defendants with firearms, that it

forced or directed Durham to recruit a team of three accomplices, that it

provided the "know-how" to conduct a home invasion, or that it ran the

entire operation with only meager assistance from Durham. As

explained in detail below, Defendants have not set forth alleged conduct

on the part of the Government that could possibly sustain their claim of

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outrageous Government action. Such an attack on an indictment may

only be invoked in the "rarest and most outrageous circumstances."

United States v. Tobias, 662 F.2d 381 (5th Cir. 1981). 6 Those

circumstances are not present in this case. Indeed, the Eleventh Circuit

has expressly declined to apply the outrageous conduct defense to

substantially similar conduct. See United States v. Sanchez, 138 F.:3d

1410 (11th Cir. 1998). Comparing the facts of this case to Sanchez, the

magistrate judge found them to be "virtually indistinguishable."

Defendants resist this comparison.

      The charges in Sanchez grew out of a "reverse sting" operation

where the defendants agreed to invade and steal drugs from a house

they were told contained illegal drugs. 7 In fact, there was no house and


      6 Neither the Supreme Court nor the Eleventh Circuit has ever found a

violation of due process based on the government's outrageous conduct. United
States v. Jayyousi, 657 F.3d 1085, 1111 (11th Cir. 2011). Courts have consistently
declined to find outrageous conduct in cases involving far more elaborate schemes
and significantly more government involvement than what Defendants allege here.
      7 Similar challenges to ·'reverse sting" operations have been rejected by the

Eleventh Circuit on numerous occasions. See Sanchez, 138 F.3d at 1413; United
States v. Savage, 701 F.2d 867, 869-70 (11th Cir. 1983); United States v. Gianni, 678
F.2d 956 (11th Cir. 1982); United States v. Nicoll, 664 F.2d 1308, 1314-15 (5th Cir.
Unit B 1982), cert. denied, 457 U.S. 1118 (1982), rev'd on other grounds, United
States v. Henry, 7 49 F.2d 203 (5th Cir. 1984).

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     there were no drugs. A brief review of the facts in Sanchez reveals that
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     the factual scenario is undeniably similar. In Sanchez, the Eleventh
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     Circuit provided the following general summary of the facts:

          [The ATF] received information from a confidential
          informant about a group of armed home invaders who would
          "rip-off' narcotics from stash houses. Working with an
          informant and recording some of the conversations, the
          government created a reverse sting operation by which the
          defendants agreed to all the details of a home invasion. They
          were arrested in a parking lot where they had assembled in
          readine.ss for going to the stash house to steal the drugs,
          which they had been told would involve 50 kilograms of
          cocaine and 300 pounds of marijuana ... ATF agents
          contacted individuals suspected of being involved in home
          invasions. Informed by these individuals that large amounts
          of narcotics could be stolen in a home invasion, defendants
          voluntarily agreed to participate.

     Sanchez, 138 F.3d at 1412-14. Defendants argue that here, the idea of a

     stash house robbery was wholly instigated by the Government, unlike

     the situation in Sanchez. But the Court fails to see the difference urged

     by Defendants. Similar to Durham, defendant Sanchez argued on

     appeal that he was "minding his own business [and] was solicited to

     participate in a [government-manufactured new crime]." His co-

     defendants likewise argued that the government developed a plan to

     use an informant and an undercover agent to develop a fictitious stash
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house scenario and that their involvement was only based upon the

government's provocation and tempting. "Absent [] coaching from the

federal agents, these individuals would never have found their way into

[f]ederal [c]ourt." The Eleventh Circuit was unpersuaded that the

Government's invitation to participate in a crime rose to the level of

misconduct, and this Court is equally unpersuaded. As in Sanchez,

Durham's availability for the crime, his recruitment of a team of three

accomplices, and the provision of a robbery plan and firearms was the

result of Defendants' activity, not the Government's.

     In a further attempt to distinguish Sanchez, Defendants argue

that the defendants in Sanchez comprised a pre-existing criminal team,

while Durham was a lone operator. But Defendants do not challenge the

assertion that Durham was indeed the leader of a crew (a "four man

team") that conducted robberies, that he spent several years in state

prison for multiple robbery convictions, and that Durham stated he had

been on another "lick" in Alabama over the summer. Nor do they

challenge the fact that Durham and Albert met with the undercover

agent on October 1 to discuss the nature of the stash house,

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demographics of the neighborhood, whether the drug suppliers had

other watch houses in the area, the type of doors the houses had, how

long the undercover agent would be inside, and the age of the Mexican

cartel members, and most importantly that Defendants, not the

undercover agent, would be responsible for scripting the robbery. When

the undercov2r agent inquired about his "crew," Durham responded

"Everybody I done rocked with, I done rocked with before, we go in on

them folks boy." [1] at 8.

      Defendants' objections, therefore, boil down to the assertion that

the Government lured Durham into involving himself in a purported

robbery and created a scenario under which he would have to bring

weapons by repeatedly telling him that the stash house would be

guarded by armed men. Again, such allegations falls far short of the

outrageous and shocking government conduct required to establish a

due process violation demanding dismissal.

     In Owen v. Wainright, 806 F.2d 1519, 1522 (11th Cir. 1986), the

defendants argued that a government informant obtained their

participation in illegal activity "through persistent lucrative offers"

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     made by a confidential informant. Despite the defendants' initial

     refusals to become involved in a criminal scheme, their involvement

     was due to an informant's initiation and insistence. The court rejected

     the notion that such allegations established a due process violation.

     "[W]hile the informant suggested the criminal activity to the defendants

     and continued to advise them on completing the transaction, the

     defendants themselves took a significant role in obtaining the necessary

     supplies." Wainright, 806 F.2d at 1522 (citing United States v.

     Mulherin, 710 F.2d 731, 736 (1 lth Cir. 1983)); see also United States v.

     Simpson, 2010 WL 1611483, at *13 (D. Ariz. Apr. 20, 2010) :

     ("[G]overnment 'luring' does not itself create an outrageous government

     conduct defense.").8



           8 Simpson is an instn~ctive case from the District of Arizona presenting a
     factually similar reverse sting operation. An undercover agent in Simpson arranged
     for a confidential informant to make contact with individuals who might be
     interested in a violent robbery. The informant arranged a meeting between the
     undercover agent and one of the defendants. The undercover agent devised a story
     about a fictitious stash house, told the defendant that the robbery would have to
     occur in daylight because he would not know the location of the drugs until he
     received a call, and he explained that the stash house was guarded by armed men.
     These details were specifically designed to ensure that the hypothetical robbery
     would involve potential violence so that only capable, undeterred, and "hard core"
     home invaders would be caught in the plan. The defendants then came up with a
     plan, recruited a number of individuals to assist, and were later arrested with
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III. Evidenti.ary Hearing

      Finally, Defendants argue that they are entitled to an evidentiary

hearing on the disputed facts outlined above. But Defendants have not

alleged facts that, even if true, would entitle them to dismissal of the

indictment. Thus, an evidentiary hearing would be of little value. See

United States v. Holloway, 778 F.2d 653, 658 (11th Cir. 1985) ("[T]he

prevalent rule as to the showing required to entitle a defendant to a

hearing on a charge of prosecutorial misconduct is that if defendants

raise a material fact which, if resolved in accordance with the

defendants' contentions, would entitle them to relief, they would be

entitled to a hearing.") (internal quotation marks omitted); United

States v. Dyman, 739 F.2d 762, 768-69 (2d Cir. 1984) (holding that it

was not error for trial court to decline to conduct full evidentiary

hearing before trial on outrageous government conduct claim). There

being no allegation of the sort of extreme circumstances of outrageous

government conduct needed to constitute a due process violation, the



firearms on the day of the planned robbery. The court rejected the defendants',
motion to dismiss based on <rntrageous government conduct.

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      Court agrees with Judge Scofield that a hearing is not warranted and

      Defendants' motions are due to be denied.

      IV.    Conclusion

             The Court adopts as its order the Report and Recommendation

      [108] and denies Defendants' motions to dismiss [85, 88, 89, 92]. 9

             IT IS SO ORDERED this 30th day of April, 2015.




                                             Timothy C. Batten, Sr.
                                             United States District Judge




             9The Court also denies [110], styled as "Motion to Dismiss Indictment," but
      which in fact contains Defendant Albert's objections to the R&R, and appears to
      have been re-filed as [111].

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